                      IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                  AUGUSTA DIVISION

DANIEL W. TAYLOR,                )
                                 )
           Plaintiff,            )
                                 )
      v.                         )                      CV 118-056
                                 )
JUDGE CARL C. BROWN, JR.;        )
SHERIFF RICHARD ROUNDTREE;       )
HATTIE HOLMES SULLIVAN;          )
WARDEN VANCE LAUGHLIN;           )
CARLOTTA FICKLIN;                )
WHEELER CORRECTIONAL FACILITY; )
and AUGUSTA TRANSITIONAL CENTER, )
                                 )
           Defendants.           )
                             _________

                                         ORDER
                                         _________

       Plaintiff, an inmate at Wheeler Correctional Facility in Alamo, Georgia, has

submitted to the Court for filing a complaint brought pursuant to 42 U.S.C. § 1983 regarding

events alleged to have occurred in Richmond County and Wheeler County, Georgia.

Plaintiff seeks to proceed in forma pauperis. (Doc. no. 2.) After reviewing Plaintiff’s

application, it appears that he lacks sufficient resources to prepay the filing fee.

Accordingly, the Court GRANTS Plaintiff leave to proceed in forma pauperis, subject to

compliance with the conditions of this Order.

       Plaintiff is hereby advised that under the Prison Litigation Reform Act, Pub. L. No.

104-134, 110 Stat. 1321, all prisoners, even those who are allowed to proceed in forma

pauperis, must pay the filing fee of $350.00 in full. 28 U.S.C. § 1915(b)(1). Plaintiff must
also pay the full appellate court filing fee if a Notice of Appeal is filed. Prisoner litigants

allowed to proceed in forma pauperis must pay an initial partial filing fee of twenty percent

(20%) of the greater of the average monthly deposits to, or the average monthly balance in,

the prisoner’s account for the six-month period immediately preceding the filing of the

complaint. Prison officials are then required to collect the balance of the filing fee by

deducting twenty percent (20%) of the preceding month’s income credited to Plaintiff’s

account. 28 U.S.C. § 1915(b)(2). This payment shall be forwarded to the Clerk of Court

“each time the amount in the account exceeds $10 until the filing fees are paid.” Id. The

entire filing fee must be paid even if this suit is dismissed at the outset because it is frivolous,

malicious, fails to state a claim, or seeks monetary damages against a defendant who is

immune from such relief.

       In addition to requiring payment of the full filing fee, the Act requires prisoners to

exhaust all administrative remedies prior to filing a federal lawsuit which challenges “prison

conditions.” 42 U.S.C. § 1997e; see 18 U.S.C. § 3626(g)(2). All prisoner civil rights actions

are subject to dismissal if the prisoner has not exhausted the available administrative

remedies with respect to each claim asserted. Moreover, even if the complaint is dismissed

for failure to exhaust, the prisoner will still be responsible for payment of the full filing fee.

       The law also provides that a prisoner cannot bring a new civil action or appeal a

judgment in a civil action in forma pauperis if the prisoner has on three or more prior

occasions, while incarcerated, brought a civil action or appeal in federal court that was

dismissed because it was frivolous, malicious, or failed to state a claim upon which relief

may be granted. The only exception to this “three strikes” rule is if the prisoner is in
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“imminent danger of serious physical injury.” 28 U.S.C. § 1915(g).1

       Because of these requirements in the law, the Court will give Plaintiff an opportunity,

at this time, to voluntarily dismiss the complaint pursuant to Fed. R. Civ. P. 41(a)(1). Such a

voluntary dismissal will not require Plaintiff to pay the filing fee or count as a dismissal

which may later subject him to the three-dismissal rule under section 1915(g). Plaintiff may

dismiss his case at this time by filing a notice of dismissal.

       However, should Plaintiff choose to proceed with his case, Plaintiff MUST comply

with the following instructions:

       (1)      Plaintiff must furnish the enclosed Prisoner Trust Fund Account Statement

to the trust (financial) officer of each prison where he has been confined for the past six

months. The trust officer will complete and sign the form and return the form and supporting

documents to Plaintiff for submission to the Court. Two copies of the form are enclosed for

this purpose.

       (2)      Plaintiff must sign and date the enclosed Consent to Collection of Fees from


       1
         The Court is aware Plaintiff has accumulated three strikes under section 1915(g).
See Taylor v. Pannell, et al., CV 315-064, doc. no. 4 (S.D. Ga. Aug. 12, 2015) (collecting
three of Plaintiff’s prior filings that counted as strikes under § 1915(g)). However, Plaintiff
alleges here he has “lost all feeling in [his] right side,” experiences swelling in his back,
shoulder, and hand, and has severe pain due to an injury. (Doc. no. 1, pp. 7, 10-11.) Plaintiff
alleges “no treatment is being given” and physical therapy only aggravates his injury. (Id. at
10-11.) Therefore, Plaintiff argues he is in “imminent danger of serious physical injury,”
excusing him from prepaying the filing fee. (Id.) Because Plaintiff’s allegations arguably
satisfy the “imminent danger” exception to § 1915(g), the Court allows Plaintiff to proceed
IFP. However, should it later be determined that Plaintiff was not in “imminent danger of
serious physical injury” at the time he filed this lawsuit, the Court may revisit the issue on its
own initiative. See Butler v. Donald, CV 105-1874-CAM, doc. no. 14 (N.D. Ga. July 14,
2006) (vacating grant of in forma pauperis status based on reconsideration of the plaintiff’s
claim of imminent danger of serious physical injury).
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Trust Account. By signing this form, Plaintiff gives his consent to the collection of the

entire filing fee from his prison account in installments, in accordance with the provisions of

the Prison Litigation Reform Act.

       (3)    Plaintiff must return both the Prisoner Trust Fund Account Statement and

the Consent to Collection of Fees from Trust Account to the Clerk within thirty days of

this Order.

       Once Plaintiff has returned the required forms, the Court will review Plaintiff’s

complaint to determine which, if any, claims are viable and which, if any, Defendant should

be served with a copy of the complaint.

       Plaintiff is cautioned that while this action is pending, he shall immediately inform

this Court of any change of address. Failure to do so will result in dismissal of this case,

without prejudice.

       If Plaintiff fails to respond to this Order within thirty days, the Court will

presume that Plaintiff desires to have this case voluntarily dismissed and will dismiss

this action, without prejudice.

       SO ORDERED this 20th day of April, 2018, at Augusta, Georgia.




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